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                             NOT FOR PUBLICATION                          FILED
                      UNITED STATES COURT OF APPEALS                      MAR 18 2025
                                                                     MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

KELLY CAHILL, et al.,                            No. 24-165
                                                 D.C. No.
               Plaintiffs – Appellees,           3:18-cv-01477-JR
    v.
                                                 MEMORANDUM*
NON-PARTY MEDIA ORGANIZATIONS
INSIDER INC. d/b/a BUSINESS INSIDER;
ADVANCE LOCAL MEDIA LLC d/b/a/
OREGONIAN MEDIA GROUP; and
AMERICAN CITY BUSINESS
JOURNAL, INC. d/b/a PORTLAND
BUSINESS JOURNAL,

               Intervenors – Appellees,

and

NIKE, INC., an Oregon Corporation,

               Defendant – Appellant.

                    Appeal from the United States District Court
                             for the District of Oregon
                 Marco A. Hernandez, Senior District Judge, Presiding

                       Argued and Submitted February 12, 2025
                              San Francisco, California


*
 This disposition is not appropriate for publication and is not precedent except as
provided by Ninth Circuit Rule 36-3.
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Before: VANDYKE and JOHNSTONE, Circuit Judges, and CHRISTENSEN,
District Judge. **

      Defendant Nike, Inc. (“Nike”) appeals from the district court’s order

unsealing certain documents that were attached as exhibits to Plaintiffs’ motion for

class certification in a gender discrimination lawsuit. The district court concluded

that the privacy interests of non-parties did not outweigh the public’s right of access

to these judicial records, and it therefore unsealed the documents. 1 We have

jurisdiction under 28 U.S.C. § 1291, and we affirm. 2

      We review de novo whether the district court applied the correct legal standard

when unsealing judicial records that potentially implicate the privacy rights of

non-parties. Phillips ex rel. Ests. of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210

(9th Cir. 2002). The district court’s application of that legal standard is reviewed

for an abuse of discretion. Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122,

1135 (9th Cir. 2003). “[T]here is no abuse of discretion unless” the district court’s

“findings of fact, and its application of those findings of fact to the correct legal

standard, are illogical, implausible, or without support in inferences that may be



**
  The Honorable Dana L. Christensen, United States District Judge for the District
of Montana, sitting by designation.
1
  Because the district court adopted the magistrate judge’s findings and
recommendations, we refer to all orders as the district court’s.
2
 Because the district court did not err by unsealing the judicial records, Nike’s
motions to seal (Dkts. 25, 47, 48) are DENIED.

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drawn from facts in the record.” Las Vegas Sands, LLC v. Nehme, 632 F.3d 526,

532 (9th Cir. 2011).

      1.     The district court properly applied the compelling reasons standard

rather than the good cause standard when determining whether to unseal the

materials attached to the class certification motion. There is a strong presumption

in favor of public access to judicial records. Phillips, 307 F.3d at 1212–13. The

party who seeks to seal a document “bears the burden of overcoming this strong

presumption.” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096 (9th

Cir. 2016). Our earlier case law “sometimes deployed the terms ‘dispositive’ and

‘non-dispositive’” when “deciding what test to apply.” Id. at 1097. But we have

since clarified that “dispositive” means a pretrial filing that is “more than

tangentially related to the underlying cause of action” or, put the other way, that a

pretrial filing is “non-dispositive” when it is “unrelated to the merits of a case.” Id.

at 1097–99. When a filing falls within the “dispositive” category, the compelling

reasons standard applies. Id. “[A] party need only satisfy the less exacting ‘good

cause’ standard” when there are “sealed materials attached to a discovery motion

unrelated to the merits of a case.” Id. at 1097; see also Fed. R. Civ. P. 26(c).

      Considering the substance of the class certification motion here, the district

court correctly concluded that the compelling reasons standard applied. Class

certification motions may not be dispositive as a technical matter, but they may still



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be tangentially related to the merits. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

338, 351 (2011) (recognizing that the class certification analysis “[f]requently ...

overlap[s] with the merits of the ... underlying claim”). Such is the case here given

the overlap between the class certification issue and the merits of Plaintiffs’ lawsuit.

The sealed materials at issue “formed a crucial part of” Plaintiffs’ class certification

motion. Whether women were discriminated against and harassed related not only

to the commonality arguments in support of class certification, but also to the merits

of the claims. Both issues concerned the same alleged discriminatory behavior and

adverse employment decisions. Because the material in the class certification

motion is more than tangentially related to the merits, the compelling reasons

standard applies.

      2.     Applying the compelling reasons standard, the district court did not

abuse its discretion by finding that the alleged privacy interests of non-parties failed

to justify continued sealing.     A court “must ... ‘conscientiously balance[] the

competing interests of the public and the party who seeks to keep certain judicial

records secret,’” and the court “may seal records only when it finds ‘a compelling

reason and articulate[s] the factual basis for its ruling, without relying on hypothesis

or conjecture.’” Chrysler, at 1096–97 (alterations in original) (quoting Kamakana

v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006)). “[B]road,

conclusory allegations of potential harm” are an insufficient justification for



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unsealing or redacting judicial records. Foltz, 331 F.3d at 1130–31 (quoting Deford

v. Schmid Prods. Co., 120 F.R.D. 648, 653 (D. Md. 1987)).

      Nike argues that disclosing the names of its employees would compromise

non-party privacy interests. But Nike raised only generalized assertions of this

purported harm. Nike failed to supply any corroborating evidence or concrete

examples to demonstrate how the unsealing of records could implicate non-parties’

“reputations and personal/professional interests” or how non-parties could be

“exposed to ridicule, embarrassment, and/or harassment.” While there are certainly

circumstances in which non-party privacy interests warrant sealing, “[s]imply

mentioning a general category of privilege, … without any further elaboration or any

specific linkage with the documents, does not satisfy the burden” for unsealing.

Kamakana, 447 F.3d at 1184. Balancing these competing interests, the district court

permissibly concluded that the purported harm to non-parties lacked sufficient

support to outweigh the public’s strong interest in disclosure.         Because this

conclusion was not “illogical, implausible, or without support,” Las Vegas Sands,

632 F.3d at 532, the district court did not abuse its discretion.

      AFFIRMED.




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